           IN THE UNITED STATES DISTRICT COURT FOR THE
        EASTERN DISTRICT OF TENNESSEE KNOXVILLE DIVISION

 CHRISTOPHER BRANHAM
 as administrator of the
 ESTATE OF SETH BLACK,

       Plaintiff,

 v.                                           No.3:22-cv-00321-DCLC-DCP

 TENNESSEE VALLEY AUTHORITY
 and GUBMK CONSTRUCTORS,

       Defendants.

              STIPULATION PURSUANT TO E.D. TENN. L.R. 12.1

       Pursuant to agreement with Plaintiff’s counsel, the Defendant, G.UB.MK,

 hereby gives notice to the Clerk of the Court that pursuant to E.D. Tenn. L.R. 12.1,

 it has been granted a twenty-one (21) day extension of time in which to respond to

 the Plaintiff’s Complaint in this cause through November 2, 2022.

       Respectfully submitted this the 6th day of October, 2022.

                                 BERNSTEIN, STAIR & McADAMS, LLP

                                 By:   /s/ W. Tyler Chastain
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                              BANKS & JONES

                              By:   /s/ T. Scott Jones with permission with WTC
                                    On 10-6-2022 telephone conference
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